
MOORE, Chief Justice
(concurring in the result in part and dissenting in part).
I would grant Sharon Thicklin’s application for rehearing because, for the reasons I articulated in my dissent in Selma Medical Center, Inc. v. Fontenot, 824 So.2d 668, 676 (Ala.2001), I do not believe her claims in this case are subject to arbitration. I therefore dissent from the majority’s decision to overrule Thicklin’s application.
*739For the same reasons that I dissent from the majority’s denial of Thicklin’s application for rehearing, I concur in the result as to its decision to overrule the defendants’ applications for rehearing. Specifically, I concur with the holdings in the majority opinion (1) that arbitration should not be compelled as to Thicklin’s express-warranty claim and her Magnu-son-Moss Act claims, and (2) that the provision in the arbitration agreement prohibiting an award of punitive damages is void.
